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                                   1                    IN THE UNITED STATES DISTRICT COURT

                                   2                  FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4   TODD ASHKER, et al.,                     Case No. 09-cv-05796-CW
                                   5              Plaintiffs,
                                                                                ORDER GRANTING PLAINTIFFS'
                                   6         v.                                 MOTION REGARDING VIOLATION OF
                                                                                SETTLEMENT AGREEMENT
                                   7   GOVERNOR OF THE STATE OF                 PROVISION REQUIRING RELEASE
                                       CALIFORNIA, et al.,                      OF CLASS MEMBERS TO GENERAL
                                   8                                            POPULATION
                                                  Defendants.
                                   9
                                                                                (Dkt. No. 993)
Northern District of California
  United States District Court




                                  10

                                  11        Plaintiffs filed a motion for de novo review of the

                                  12   magistrate judge’s order regarding violation of the Settlement

                                  13   Agreement provision requiring release of class members to the

                                  14   General Population.    Having considered the papers, the Court

                                  15   GRANTS Plaintiffs’ motion to the extent that Plaintiffs must

                                  16   receive more out-of-cell time than they received in the Pelican

                                  17   Bay SHU.   They should receive out-of-cell time consistent with

                                  18   the CDCR’s regulations and practices with respect to Level IV

                                  19   general population inmates, as well as its constitutional

                                  20   obligations.

                                  21        Pursuant to the Settlement Agreement, the parties agreed

                                  22   that, if an inmate was not “found guilty of a SHU-eligible rule

                                  23   violation with a proven STG nexus” within 24 months, then he

                                  24   should be “released from the SHU and transferred to a General

                                  25   Population level IV 180-design facility, or other general

                                  26   population institution consistent with his case factors.”

                                  27   Settlement Agreement ¶ 25.     The Settlement Agreement was intended

                                  28   to remove Plaintiffs from detention in the SHU, where they were
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                                   1   isolated in a cell for twenty-two and a half to twenty-four hours

                                   2   a day.    Second Amended Complaint ¶¶ 3, 63.      Plaintiffs may seek

                                   3   to enforce the Settlement Agreement under either paragraphs 52 or

                                   4   53, which require Plaintiffs to show “current and ongoing

                                   5   violations” of the Eighth Amendment or the Fourteenth Amendment

                                   6   on a systemic basis, or other substantial noncompliance with the

                                   7   terms of the Agreement.    Settlement Agreement ¶¶ 52, 53.

                                   8   Plaintiffs have shown that many Plaintiffs spend an average of

                                   9   less than an hour of out-of-cell time each day, which is similar
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                                  10   to the conditions they endured in the SHU.        See Declaration of

                                  11   Samuel Miller (Miller Decl.), Ex. 2; Reply Declaration of Samuel

                                  12   Miller (Miller Reply Decl.) ¶¶ 2-3.      This is substantially less

                                  13   than the amount of time a general population inmate spends out-

                                  14   of-cell, which Defendants represented was a minimum of ten hours

                                  15   a week.   Miller Reply Decl., Ex. B (July 20, 2016 Court

                                  16   Transcript) at 53:24.    This demonstrates a violation of the

                                  17   Settlement Agreement.

                                  18        Defendants are hereby ordered to meet and confer with

                                  19   Plaintiffs’ representatives and their counsel with the goal of

                                  20   presenting a proposed remedial plan for Court approval.           The

                                  21   matter is referred to Magistrate Judge Illman to mediate the meet

                                  22   and confer.   Absent agreement, the parties shall present their

                                  23   own respective proposed remedial plans.       The joint or separate

                                  24   plans are to be submitted within seven days after the meet and

                                  25   confer session, which shall be scheduled as quickly as feasible.

                                  26        IT IS SO ORDERED.

                                  27   Dated: July 3, 2018
                                                                               CLAUDIA WILKEN
                                  28                                           United States District Judge
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